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                             NO. 23-60069


          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


 STATE OF TEXAS; TEXAS COMMISSION ON ENVIRONMENTAL
  QUALITY; LUMINANT GENERATION COMPANY LLC; COLETO
   CREEK POWER, LLC; ENNIS POWER COMPANY, LLC; HAYS
    ENERGY, LLC; MIDLOTHIAN ENERGY, LLC; OAK GROVE
     MANAGEMENT COMPANY LLC; WISE COUNTY POWER
 COMPANY, LLC; ASSOCIATION OF ELECTRIC COMPANIES OF
  TEXAS; BCCA APPEAL GROUP; TEXAS CHEMICAL COUNCIL;
TEXAS OIL & GAS ASSOCIATION; PUBLIC UTILITY COMMISSION
 OF TEXAS; AND RAILROAD COMMISSION OF TEXAS; ; STATE OF
 MISSISSIPPI; MISSISSIPPI DEPARTMENT OF ENVIRONMENTAL
QUALITY; MISSISSIPPI POWER COMPANY; STATE OF LOUISIANA;
AND LOUISIANA DEPARTMENT OF ENVIRONMENTAL QUALITY,

                              Petitioners,

                                   v.

  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
          and MICHAEL S. REGAN, Administrator,
        United States Environmental Protection Agency,

                             Respondents.


                RESPONSE IN OPPOSITION
         TO THE MOTIONS TO STAY THE FINAL RULE
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     Sierra Club, Air Alliance Houston, and Downwinders at Risk

(collectively, the “Environmental Intervenors”) file this response in

opposition to the Texas State Petitioners’1 and Texas Industry

Petitioners’2 (collectively, “Movants”) motions to stay EPA’s final action,

Interstate Transport of Air Pollution for the 2015 8-Hour Ozone

National Ambient Air Quality Standards, 88 Fed. Reg. 9,336 (Feb. 13,

2023) (“Disapproval Rule”).

                           INTRODUCTION

     Under the Clean Air Act, EPA is required to set and periodically

revise National Ambient Air Quality Standards (“NAAQS”) for various

criteria air pollutants, including ground-level ozone, at levels “requisite

to protect the public health.” 42 U.S.C. § 7409(b)(1). Once a new

NAAQS is set, each state is obligated to “adopt and submit to” EPA a

state implementation plan (“SIP”) that, among other things, contains



1 The “Texas State Petitioners” are the State of Texas, the Texas

Commission on Environmental Quality, the Public Utility Commission
of Texas, and the Railroad Commission of Texas.
2 The “Texas Industry Petitioners” are Luminant Generation Company

LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays
Energy LLC, Midlothian Energy, LLC, Oak Grove Management
Company LLC, Wise County Power Company, LLC, Association of
Electric Companies of Texas, BCCA Appeal Group, Texas Chemical
Counsel, and Texas Oil & Gas Association.
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“adequate provisions” to “prohibit[] . . . any source or other type of

emissions activity within the State from emitting any air pollutant in

amounts which will contribute significantly to nonattainment in, or

interfere with maintenance by, any other State”–the so-called “Good

Neighbor Provision.” Id. §§ 7410(a)(1), 7410(a)(2)(D)(i)(I). Once EPA

receives a SIP, it is obligated to approve or disapprove the SIP based on

whether “it meets all of the applicable requirements” of the Clean Air

Act, including the Good Neighbor requirement. Id. § 7410(k)(3).

      In 2015, EPA finalized a new health-based National Ambient Air

Quality Standard (“NAAQS”) for ground-level ozone of 70 parts per

billion, triggering states’ obligation to prepare and submit SIPs. See 80

Fed. Reg. 65,291 (Oct. 26, 2015). Many (although not all) states

submitted SIPs concerning the Good Neighbor requirement, and on

February of this year, EPA issued a single rule disapproving (in whole

or in part) 21 SIPs. 88 Fed. Reg. 9,336.3




3 The Disapproval Rule addressed SIP submittals from Alabama,

Arkansas, California, Illinois, Indiana, Kentucky, Louisiana, Maryland,
Michigan, Minnesota, Mississippi, Missouri, Nevada, New Jersey, New
York, Ohio, Oklahoma, Texas, Utah, West Virginia, and Wisconsin. 88
Fed. Reg. at 9,338.
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     In this national Disapproval Rule, EPA applied the same “4-step

framework” to assess the SIPs’ adequacy in meeting the Good Neighbor

Provision requirement:

     (1) Identify monitoring sites that are projected to have
         problems attaining and/or maintaining the NAAQS;

     (2) identify states that impact those air quality problems in
         other (i.e., downwind) states sufficiently such that the
         states are considered ‘‘linked’’ and therefore warrant
         further review and analysis;

     (3) identify the emissions reductions necessary, applying a
         multifactor analysis, to eliminate each linked upwind
         state’s significant contribution to nonattainment or
         interference with maintenance of the NAAQS in
         downwind states; and

     (4) adopt permanent and enforceable measures needed to
         achieve those emissions reductions.

88 Fed. Reg. at 9,338 (emphasis added).4 Using a nationwide ozone

transport modeling analysis, EPA concluded that each of the 21 states’

pollution emissions were “linked” to monitors in downwind states that

were either projected to have attainment or maintenance problems with




4 EPA has used this 4-step framework for good neighbor requirements

with many prior NAAQS: the 1997 ozone NAAQS, the 1997 fine particle
NAAQS, the 2006 fine particle NAAQS, and the 2008 ozone NAAQS.
See Disapproval Rule, 88 Fed. Reg. at 98,338.
                                      3
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the NAAQS, or for which 2021 and 2022 real-world monitor data

showed problems with attaining the standard. 88 Fed. Reg. at 9,353-54.

Figure 1: EPA’s Ozone Transport Linkage Map




     EPA found that Texas contributed to unsafe ozone levels across

state lines at 20 different locations, including a “contribution [of] 4.74

ppb to Dona Ana County, New Mexico.” 88 Fed. Reg. at 9,359. However,

Texas’s SIP—like all of the 21 SIPs EPA disapproved— “included no

permanent and enforceable emissions controls,” and thus did nothing to


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address Texas’s cross-state air pollution or fulfill the Good Neighbor

requirement. 88 Fed. Reg. at 9,360 (emphasis added). Despite Texas’s

do-nothing plan being correctly disapproved, Movants now seek a stay

of the Disapproval Rule.

                       STANDARD OF REVIEW

     A stay is “an extraordinary and drastic remedy,” only available if

Movants can carry the “heavy burden” of making a strong showing that

(1) they are likely to succeed on the merits; (2) they will be irreparably

injured by the challenged action absent a stay; (3) issuance of the stay

will not substantially injure the other parties interested in the

proceeding; and (4) the public interest supports a stay. Enter. Int’l, Inc.

v. Corporacion Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th

Cir. 1985); Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20-21

(2008).

                              ARGUMENT

    I.    MOVANTS ARE NOT LIKELY TO SUCCEED ON THE
          MERITS.

     Movants fail to carry their heavy burden of demonstrating that

EPA’s Disapproval Rule is likely arbitrary, capricious, not in accordance




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with law, or in excess of EPA’s statutory authority. Texas v. EPA, 983

F.3d 826, 836 (5th Cir. 2020).

        A.    Venue does not lie in this Court.

     Movants are unlikely to succeed because Movants have filed their

challenges in the wrong court. The Clean Air Act dictates that

challenges to nationally applicable actions “may be filed only” in the

U.S. Court of Appeals for the District of Columbia Circuit. 42 U.S.C. §

7607(b)(1); see, e.g., Texas v. EPA, No. 10-60961, 2011 WL 710598, at *3

(5th Cir. Feb. 24, 2011) (unpublished) (transferring Texas’s petition for

review of EPA’s call for thirteen states over seven federal circuits to

revise their state plans to the D.C. Circuit); ATK Launch Systems, Inc.

v. EPA, 651 F.3d 1194, 1197 (10th Cir. 2011); S. Ill. Power Coop. v.

EPA, 863 F.3d 666 (7th Cir. 2017). Similarly, challenges to regionally

applicable actions that EPA finds are based on a determination of

nationwide scope and effect, and for which EPA publishes such a

finding, “may be filed only” in the D.C. Circuit. 42 U.S.C. § 7607(b)(1).

     The Disapproval Rule is nationally applicable because, on its face,

“the legal impact of the action as a whole” applies to all 21 states–

spanning the entire continental U.S.–whose plans improperly failed to


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eliminate emissions that significantly contribute to nonattainment in

other states. Texas v. EPA, 829 F.3d 405, 419 (5th Cir. 2016); Texas v.

EPA, 2011 WL 710598, at *3 (“This far-flung collection of states

comprises no “region” of which we are aware.”); ATK Launch Systems,

651 F.3d at 1197 (recognizing that national applicability turns on the

“face” of the action, not “the effects complained of or petitioner’s

challenge,” and holding that EPA’s action designating 31

nonattainment areas across the country, including areas with no local

or regional connection to each other was nationally applicable.”); see 42

U.S.C. § 7410(a)(2)(D).

     Even if the Disapproval Rule were not nationally applicable, EPA

reasonably found and published a finding that the rule is “based on a

determination of ‘nationwide scope or effect,’” with venue accordingly

lying only in the D.C. Circuit. 88 Fed. Reg. at 9,380; see Alcoa, Inc. v.

EPA, No. 04-1189, 2004 WL 2713116, at *1 (D.C. Cir. Nov. 24, 2004)

(unpublished). Consistent with Supreme Court precedent, the

Disapproval Rule applies a uniform framework of policy judgments and

technical methods to disapprove 21 state plans that each failed to

include measures to reduce interstate ozone. The rule is also based on


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EPA’s nationwide determination that Texas’s approach to identifying

monitors that struggle to maintain the standard—which at least two

states outside this Circuit, Ohio and Oklahoma, adopted and relied

upon—was flawed. See 88 Fed. Reg. at 9,358-59. Because EPA’s

determination of nationwide scope and effect was reasonable, venue

belongs in the D.C. Circuit, and a stay of the rule in this Court would be

improper.

        B.    EPA is Not Required to Defer to Texas’s Incorrect
              Determination that Texas does Not Significantly
              Contribute to Air Quality Problems in Other States.

     Industry Petitioners argue that the national Disapproval Rule is

unlawful because EPA “failed to defer to Texas’s approach in complying

with the Clean Air Act,” Industry Mot. 11-13, but this misapprehends

the structure of the Act. While states enjoy discretion in developing

state implementation plans, EPA is responsible for setting the air

quality goals that each SIP must attain. See Train v. Nat. Res. Def.

Council, Inc., 421 U.S. 60, 79 (1975). The Good Neighbor Provision is no

different. See EPA v. EME Homer City Generation, L.P., 572 U.S. 489,

513 (2014) (“the Good Neighbor Provision delegates authority to EPA”

to determine the amounts of pollution that contribute significantly to


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downwind air quality problems) (emphasis added). Here, just because

Texas incorrectly concluded that it was not contributing significantly to

downwind air quality problems does not mean that EPA must accord

any deference to that erroneous determination.

     The precise argument advanced by Industry Petitioners was

rejected more than two decades ago in Michigan v. EPA, 213 F.3d 663

(D.C. Cir. 2000). The petitioners in Michigan relied on Train to argue

EPA’s decision to promulgate emission reduction targets for the states

under the Good Neighbor Provision “impermissibly intrude[d] on the

statutory right of the states to fashion their SIP submissions in the first

instance.” Id. at 686. The Court disagreed, explaining that “[w]hile the

states have considerable latitude in fashioning SIPs, the [Clean Air Act]

nonetheless subjects the States to strict minimum compliance

requirements and gives EPA the authority to determine a state’s

compliance with the requirements.” Id. at 687 (quoting Union Elec. Co.

v. EPA, 427 U.S. 246, 256-57 (1976)). Subsequent cases have reaffirmed

that “EPA has the authority to determine whether SIPs comply with”

the Good Neighbor Provision. Westar Energy, Inc. v. EPA, 608 F. App’x

1, 3 (D.C. Cir. 2015).


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     Neither Texas v. EPA, 829 F.3d 405 (5th Cir. 2016) nor Luminant

Generation Co. v. EPA, 675 F.3d 917 (5th Cir. 2012) conflicts with

Michigan. Each case quotes Train for the proposition that states are “at

liberty to adopt whatever mix of emission limitations it deems best

suited to its particular situation” so long as “the ultimate effect of a

State’s choice of emission limitations is compliance with the national

standards for ambient air.” Texas, 829 F.3d at 411 (quoting Train, 421

U.S. at 79); accord Luminant, 675 F.3d at 921 (quoting same language).

Unlike the present situation, in those cases, this Court found that

Texas’s SIP was consistent with the air quality goals established by

EPA. See Texas, 829 F.3d at 426 (EPA likely exceeded its statutory

authority by “disapproving the Texas and Oklahoma reasonable

progress goals even though the goals complied with the Clean Air Act’s

standard.”) (emphasis added); Luminant, 675 F.3d at 930 (holding that

EPA acted unlawfully in disapproving a SIP revision where EPA’s

action was not “necessary to safeguard the NAAQS”).

     Here, Texas’s SIP does not include any measures to achieve

compliance with the “strict minimum compliance requirements”

established by the Good Neighbor Provision. Accordingly, EPA properly


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determined that the SIP was not approvable. See Westar Energy, 608 F.

App’x at 3 (“EPA acted well within the bounds of its delegated authority

when it disapproved of Kansas’s proposed SIP” for failure to comply

with the Good Neighbor Provision).

        C.    Movants Cannot Show Any Infirmity in EPA’s
              Evaluation of the “Interference-with-Maintenance”
              Prong.

     In the Disapproval Rule, EPA noted that Texas “advocated for use

of its own definition of maintenance receptors and modeling,” and

explained that EPA determined that Texas’s approach was

“inadequately justified and legally and technically flawed.” 88 Fed. Reg.

at 9,359.

     Contrary to Petitioners’ argument that EPA lacks authority to

disapprove a SIP on that basis, Industry Mot. 15, or that EPA

arbitrarily changed its approach, Texas Mot. 12-13, Congress entrusted

EPA with the authority to determine how much a state must reduce its

pollution in order to prevent interference with downwind maintenance.

See North Carolina v. EPA, 531 F.3d 896, 910 (D.C. Cir 2008) (“EPA

must give effect to both provisions”) (emphasis added); contra Industry

Mot. 13-14 (citing North Carolina for the proposition that “the State”


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must give meaning to both prongs). The D.C. Circuit has repeatedly

upheld EPA’s approach to identifying maintenance receptors against

state and industry challenges. See Wisconsin v. EPA, 938 F.3d 303, 325

(D.C. Cir. 2019); EME Homer City Generation, L.P. v. EPA, 795 F.3d

118, 136 (D.C. Cir. 2015) (Kavanaugh, J.). And Texas’s contention

(Texas Mot. 13-14) that EPA “changed course” in the October 2018

memorandum is based on a flagrant misreading of that memorandum.

EPA did not instruct states “to use receptors located in areas where

ozone has been trending downward since 2011” (contra Texas Mot. 13);

rather, EPA indicated that states could eliminate those monitors from

further consideration under the maintenance prong in certain

circumstances.5

     In any event, EPA provided a rational explanation for rejecting

the methodology Texas and other states used for identifying

maintenance receptors—i.e., those areas that may struggle to maintain

the NAAQS. To identify those areas, EPA has long recommended


5 See Oct. 2018 Memorandum at 4 (“EPA believes that states may, in

some cases, eliminate a site as a maintenance receptor if the site is
currently measuring clean data” if, inter alia, “ozone concentrations
have been trending downward at the site since 2011” and “emissions
are expected to continue to decline”).
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developing a future design value6 for each monitor based on the

maximum three-year design value over a five-year period. EPA, 2015

Ozone NAAQS Interstate Transport SIP Disapprovals – Response to

Comment Document, Document ID No. EPA-HQ-OAR-2021-0663-0083,

at 227 (“RTC”). For the base year 2011, for example, a state would use

the maximum design value from 2009-2011, 2010-2012, or 2011-2013. If

that value exceeds the NAAQS, the receptor is considered a

maintenance receptor. Instead of following that approach, however,

Texas evaluated only the most recent three-year period, regardless of

the maximum value. EPA reasonably concluded that Texas’s approach

failed to account for the “effects of inter-annual variability in ozone

conducive meteorology” over the relevant timeframe, making “it appear

that an area is closer to attaining the NAAQS than . . . if more typical

meteorological conditions had occurred.” RTC at 227. EPA applied that

same approach in the Cross-State Air Pollution Rule, which was upheld

in EME Homer City Generation, L.P. v. EPA, 795 F.3d 118, 136 (D.C.

Cir. 2015).




6 A design value is a statistic that describes the air quality status of a

given location relative to the level of the NAAQS.
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     Even if there was some flaw in EPA’s approach to identifying

maintenance receptors, EPA reasonably disapproved Texas’s plan.

Indeed, using Texas’s own methodology, Texas emissions exceeded the

significant contribution threshold for several downwind maintenance

monitors and nonattainment areas. See RTC at 243-24. The Good

Neighbor Provision requires Texas to prohibit in-state emissions “in

amounts which . . . contribute significantly to nonattainment in, or

interfere with maintenance” of the NAAQS in any other State. 42

U.S.C. § 7410(a)(2)(D)(i) (emphasis added). Thus, EPA was required to

disapprove Texas’s SIP if it failed to comply with either prong of the

statute. North Carolina, 531 F.3d at 910 (the provision is “written in

the disjunctive”). EPA found that Texas’s SIP failed to satisfy both

requirements. 88 Fed. Reg. at 9,359 (“Texas is projected to be linked

above 1 percent of the NAAQS to one nonattainment receptor and nine

maintenance-only receptors” as well as ten other receptors that are not

attaining the NAAQS). Because the SIP failed to eliminate Texas’s

significant contribution to downwind nonattainment, the SIP

disapproval must be upheld. See Pierce v. SEC, 786 F.3d 1027, 1034

(D.C. Cir. 2015) (“It is well understood in administrative law that a


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reviewing court will uphold an agency action resting on several

independent grounds if any of those grounds validly supports the

result.”).

         D.    Movants’ Other Arguments Fail.

      The remainder of Movants’ arguments are similarly without

merit. First, Texas State Petitioners argue that it was improper for

EPA to use data, specifically emissions data from 2014 to 2018, that

were not available at the time Texas submitted its SIP. Texas Mot. 17.

But, as the Supreme Court has explained, the Clean Air Act “does not

require EPA to furnish upwind States with information of any kind

before disapproving a good neighbor SIP.” Homer City, 572 U.S. at 510

(emphasis added); see also Michigan, 213 F.3d at 674 (holding that EPA

was entitled to rely on modeling that it made available on the Internet

six weeks prior to the final rule).

      Second, Industry Petitioners cite Texas v. EPA, 983 F.3d 826, 839

(5th Cir. 2020) for the proposition that this one-percent threshold “does

not appear in the text” of the Good Neighbor Provision. Industry Mot.

15. But that case simply stands for the proposition that EPA’s

interpretation of the Good Neighbor Provision significance threshold


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had “no bearing on” how EPA designates nonattainment areas, 983 F.3d

at 839; it does not cast any doubt on EPA’s use of that threshold to

determine significant contribution. Id. at 839 n.6. In any event, the

Supreme Court has upheld EPA’s one-percent threshold. Homer City,

572 U.S. at 524.

     Third, Movants suggest that EPA’s Disapproval Rule was

improper because EPA missed its deadline for action. See, e.g., Texas

Mot. 17; Industry Mot. 8. Yet, failure to meet a statutory deadline does

not deprive a federal agency of the authority to act, unless there is clear

Congressional intent to the contrary. See Barnhart v. Peabody Coal Co.,

537 U.S. 149, 158 (2003) (noting that the Court does not “construe[] a

provision that the Government ‘shall’ act within a specified time,

without more, as a jurisdictional limit precluding action later.”); La.

Dept. of Env’t Quality v. EPA, 730 F.3d 446, 449 (5th Cir. 2013). There

is no indication in the Clean Air Act that Congress intended to deprive

EPA’s authority to act after missing a deadline.

     Notably, Texas’s alleged harm from EPA’s delay is that the agency

used updated ozone data to disapprove Texas’s submission. Texas Mot.

17. Yet, Texas does not argue that the 2014-2018 ozone data is


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inaccurate or otherwise invalid; instead, Texas’s argument appears to

be that EPA should be barred from acting on the best available science

when reviewing SIPs. That argument is without merit. Wisconsin, 938

F.3d at 321-22 (rejecting Delaware’s claim that EPA was bound to 2011

data—the year States’ SIPs were due to EPA—when issuing a final rule

in 2016 based on projected NOx emission rates in 2017).

   II.   MOVANTS WILL NOT SUFFER IRREPARABLE HARM.

     The Texas State and Industry Intervenors allege harms from a

separate agency action not actually before this Court. Industry Mot. 18-

19. Texas State Petitioners also attempt to argue that the Disapproval

Rule “disrupts” the Clean Air Act’s cooperative federalism mandate.

Texas Mot. 18. These conclusory allegations fail to establish the

imminent and concrete irreparable injury necessary for a stay of the

Disapproval Rule. Winter, 555 U.S. at 22 (A preliminary injunction is an

“extraordinary remedy” that “will not be issued simply to prevent the

possibility of some remote future injury.”).

     None of Movants’ purported economic or reliability harms

“directly result” from the Disapproval Rule. Wis. Gas Co. v. FERC, 758

F.2d 669, 674 (D.C. Cir. 1985) (The movant must show concrete,


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imminent, and substantial harm “will directly result from the action

which the movant seeks to enjoin.”). Indeed, Movants’ declarations

make clear that each of those speculative harms are not the result of

the Disapproval Rule, but of a separate agency action that is not

actually before the Court. Rickerson Decl. ¶¶ 2, 14, 37 (EPA’s “proposed

FIP” “could lead” to reliability concerns) (emphasis added); Price Decl.

¶¶ 10, 28 (emission allowances “may not” be available under EPA’s

“proposed” FIP) (emphasis added); Zahn Decl. ¶¶ 5, 16 (The “proposed

FIP, if adopted and upheld,” could impose requirements that “may not

be possible”) (emphasis added).7 Movants’ statements underscore the

fundamental defect in the stay motions: their burden is to show that the

Disapproval Rule they are challenging in this action will cause

irreparable harm of “discrete injury that is of such imminence that

equitable relief is urgently necessary.” Chaplaincy of Full Gospel

Churches v. England, 454 F.3d 290, 298 (D.C. Cir. 2006) (denying


7 Texas Industry Petitioners’ misrepresent the record. The Electric

Reliability Council of Texas (“ERCOT”) has not “determined that EPA’s
disapproval will endanger” reliability. Industry Mot. 20 (emphasis
added). ERCOT’s declarant asserts that such harms, if they ever occur,
“could result” from EPA’s separately “proposed FIP,” Rickerson Decl.
¶¶2, 37 (emphasis added), which, again, is not before this Court.

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injunctive relief where a Navy employment policy only reduced

opportunities for possible promotions, and review of subsequent non-

promotion decisions was available) (emphasis in original). Pointing to

some other rule that they may (or may not) challenge in some other

court, at some other time, does not show harm—let alone imminent

irreparable harm—as direct result of the Disapproval Rule. Wis. Gas

Co., 758 F.2d at 674.

     Recent events highlight the speculative nature of Movants’ alleged

harms. In the prepublication version of the Good Neighbor Plan—which

EPA issued after Petitioners moved to stay the Disapproval Rule—EPA

“made several adjustments to the proposed emissions reduction

requirements for power plants—reflecting input received from grid

operators across the country and other stakeholders.”8 To the extent

Movants are actually harmed by that separate, national rule, they may

consider challenging it in another action before the appropriate court.

42 U.S.C. § 7607(b). Because “corrective relief” for Movants’ alleged




8 EPA’s “Good Neighbor” Plan Cuts Ozone Pollution – Overview Fact

Sheet, at https://www.epa.gov/system/files/documents/2023-
03/Final%20Good%20Neighbor%20Rule%20Fact%20Sheet_0.pdf (last
visited March 26, 2023).
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harms is available through a challenge to EPA’s separate federal plan, a

stay of the Disapproval Rule is not appropriate. Texas v. EPA, 829 F.3d

at 434; cf. Homer City, 572 U.S. at 507 (concluding that petitioners may

challenge a FIP where the “gravamen of the State respondents’

challenge is not [] EPA’s disapproval of any particular SIP,” but the

subsequent federal plan).

     Movants’ selective editing of Texas v. EPA is misleading. 829 F.3d

at 425; Industry Mot. 19. Movants’ quoted language relates to the

Court’s discussion of the likelihood of success on the merits, not

irreparable harm. In any event, Texas v. EPA case does not relieve

Movants of their burden of demonstrating irreparable harm directly

resulting from the challenged Disapproval Rule. There, EPA

disapproved a Texas Regional Haze SIP and imposed a final federal

plan requiring source-specific pollution controls as part of the same

final agency action. The Court found that “compliance with the Final

Rule” at issue could directly “cause[]” irreparable economic harm, and

granted a stay. Texas v. EPA, 829 F.3d at 434. Here, the Movants’ own

declarations make clear that the Disapproval Rule itself does not

actually impose any costs or cause any harm.


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       Citing Texas v. EPA, 829 F.3d at 433, the Texas State Petitioners

also suggest that the Disapproval Rule could cause irreparable harm by

“disrupt[ing] cooperative federalism” but they fail to explain how that is

so. Texas Mot. 18. Nor can they. Texas v. EPA did not conclude that

EPA’s disapproval of a SIP disapproval results irreparable harm as a

matter of law; indeed, the Clean Air Act explicitly directs EPA to

disapprove inadequate state plans. 42 U.S.C. § 7410(c)(1), (k)(3). To the

contrary, in Texas v. EPA, the Court found harm because the state

submitted sworn declarations alleging that EPA’s action in that case

harmed state agencies’ “ability” to fulfill their “regulatory function[s].”

See Texas Mot. for Stay at 18, Texas v. EPA, No. 16-60118 (filed Mar.

17, 2016), ECF Doc. 00513428276. There is no such evidence of harm

here, and bare assertions of theoretical harm to “cooperative

federalism” is insufficient to warrant a stay. Wis. Gas Co., 758 F.2d at

674.

       Movants’ alleged harms are additionally riddled with uncertainty.

Movants admit that any timeline and costs for complying with the

proposed FIP are uncertain. Price Decl. ¶ 28; Zahn Decl. ¶ 16; Krautsch

Decl. at 2-3 (timelines for compliance “remain uncertain,” and costs of


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compliance “cannot yet be ascertained”); Talley Decl. ¶ 25 (there is no

“knowing with certainty what . . . allocations in 2025 and future years

will be”). These allegations are insufficient to show the concrete,

imminent harm necessary to warrant a stay. Winter, 555 U.S. at 22.

     Finally, Movants’ speculation about future plant closures and

reliability issues is similarly insufficient: Movants do not actually

identify any plants imminently at risk of retirement as a result of the

proposed FIP. See, e.g., Rickerson Decl. ¶¶ 2, 37 (“proposed FIP” “could

result” in retirements). Additionally, Movants have a history of claiming

that EPA’s Good Neighbor plans would compromise reliability,9 yet they

do not cite a single instance where implementation of any pollution

trading plan has actually caused adverse reliability impacts. The gap

between Movants’ repeated rhetoric and reality is further reason why

their alleged reliability harms are insufficient to warrant a stay.




9 See, e.g., Texas Motion for Stay of Cross State Air Pollution Rule at 15,

Texas v. EPA, Case No. 11-1338 (D.C. Cir. filed Sept. 22, 2011) (alleging
rolling blackouts as a result of Good Neighbor Plan predecessor), ECF
Doc. 1331220.
                                       22
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  III.   A STAY WOULD HARM OTHER PARTIES AND THE
         PUBLIC INTEREST.

     A stay would harm Proposed-Intervenors’ members and the

public, because it would further delay pollution reductions necessary to

attaining the 2015 Ozone NAAQS. Every state plan disapproved in the

Disapproval Rule failed to include permanent and enforceable

reductions in ozone-causing NOx pollution despite EPA determinations

that the states contributed toward harmful levels of ground-level ozone

in downwind states. Staying the Disapproval Rule would retain in place

not only Texas’s do-nothing plan, but the similar do-nothing plans

submitted by twenty other states. Accordingly, a stay of the Disapproval

Rule would cause substantial harm to Proposed-Intervenors’ members

and members of the public who live, work, and recreate in areas

burdened with unhealthy levels of ground-level ozone pollution.

     NOx emissions generally increase ozone concentrations in the

ambient air.10 Ground-level ozone, is a corrosive air pollutant that




10 See EPA, “Ground-level Ozone Basics,” https://www.epa.gov/ground-

level-ozone-pollution/ground-level-ozone-basics#formation (last visited
Feb. 26, 2023).
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inflames the lungs, constricts breathing, and likely kills people.11 Ozone

causes and exacerbates asthma attacks, emergency room visits,

hospitalizations, and other serious health harms.12 Ozone-induced

health problems can force people to change their ordinary activities,

requiring children to stay indoors and forcing people to take medication

and miss work or school.13

     Ozone can harm healthy adults, but others are even more

vulnerable.14 Because their respiratory tracts are not fully developed,

children are especially vulnerable to ozone pollution, particularly when

they have elevated respiratory rates, as when playing outdoors.15 People

with lung disease and the elderly also have heightened vulnerability16




11 See 80 Fed. Reg. 65,292, 65,308 (Oct. 26, 2015); EPA, Integrated

Science Assessment for Ozone and Related Photochemical Oxidants, at
2-20 to -24, tbl.2-1 (Feb. 2013) (EPA-HQ-OAR-2008-0699-0405)
(“Science Assessment”).
12 See, e.g., EPA, Policy Assessment for the Review of the Ozone

National Ambient Air Quality Standards, at 3-18, 3-26 to -29, 3-32 to -
35 (Aug. 2014) (EPA-HQ-OAR-2008-0699-0404) (“Policy Assessment”);
Science Assessment at 2-16 to -18, 2-20 to -24, tbl.2-1.
13 See, e.g., Policy Assessment at 4-12.
14 See 80 Fed. Reg. at 65,310.
15 See, e.g., Policy Assessment at 3-81 to -83.
16 See 80 Fed. Reg. at 65,310.

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People with asthma suffer greater impacts from ozone exposure and are

more vulnerable at lower levels of exposure.17

       Exposure to ozone does not just harm the public generally, but as

explained in the concurrently-filed Motion to Intervene, it harms

Proposed-Intervenors’ members’ ability to enjoy daily life. See, e.g., Mot.

to Intervene 17-19 and Attached Declarations (Owen Decl. ¶¶ 11-13;

Wiley Decl. ¶¶ 8-10; O’Quinn Decl. ¶¶ 5-6, 10-11; Mannchen ¶¶ 5-7;

Lewis Decl. ¶¶ 7-8; Hadayia ¶ 2; Wiley Decl. ¶¶ 5-10; Reyes Decl. ¶¶ 9-

12).

       Texas’s emissions cause such harm, contributing significant ozone

pollution to downwind states, including multiple parts per billion

(“ppb”) to ozone levels in Illinois (2.37-2.39 ppb), Indiana (2.14-2.36

ppb), Kansas (2.45-3.51 ppb), Minnesota (2.14 ppb), Missouri (2.00-5.75

ppb), Nebraska (2.03-2.13 ppb), New Mexico (2.17-4.74 ppb), and

Oklahoma (4.47-7.67 ppb), and as much as 8.37 ppb to Louisiana. See




17 Id. at 65,311, 65,322.

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U.S. EPA, Data File with 2016v3 Ozone Design Values and

Contributions, Document ID No. EPA-HQ-OAR-2021-0663-0070.18

     Similarly, Texas emissions contribute towards more than 1% of

the NAAQS19 in many downwind areas with 2021 or 2022 monitored

ozone design values (“DV”), or 2023 modeled DVs, above the NAAQS:20

Table 1: Texas Contributions to Downwind State Ozone (ppb)21

Monitor ID     State and      Texas         2021       2022       Modeled
               County         Contributi    4th        4th        2023 DV
                              on            High       High


18 Texas’s own ozone modeling, based on prior, outdated data,

nonetheless also showed large contributions to ozone concentrations in
downwind states. 87 Fed. Reg. 9,798, 9,825 (Feb. 22, 2022).
19 In the Disapproval Rule, as in three prior multistate ozone transport-

related rulemakings, EPA regards 1% of the NAAQS as the
“appropriate threshold” for assessing interstate pollution impacts, 88
Fed. Reg. at 9.342, an approach that has been upheld by the Supreme
Court. See Homer City, L.P., 572 U.S. at 524.
20 Over six million people live in the downwind state ozone

nonattainment areas to which Texas contributes significantly: Cook
County, Illinois; Porter County, Indiana; Allegan and Muskegon
Counties, Michigan; Dona Ana County, New Mexico; Lake County,
Ohio; and Kenosha, Racine, and Sheboygan Counties, Wisconsin. See
EPA, Greenbook, 8-Hour Ozone (2015) Nonattainment Areas by
State/County/Area,
https://www3.epa.gov/airquality/greenbook/jncty.html (last visited
March 24, 2023).
21 Highlighted-bold values exceed the 70 ppb NAAQS. Data taken from

U.S. EPA, Data File with 2016v3 Ozone Design Values and
Contributions, Document ID No. EPA-HQ-OAR-2021-0663-0070 and 88
Fed. Reg. at 9,351-52, tbls. III.B-1 through III.B-3.
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 170311601 IL Cook                    0.78         72         71         64.5

 390850003 OH Lake                    0.78         72         76         64.6

 551170006 WI                         1.03                               73.6
           Sheboygan
 170314201 IL Cook                    1.05                               71.5

 170310001 IL Cook                    1.09                               71.9

 181270024 IN Porter                  1.32         72         73         64.6

 170310076 IL Cook                    1.33                               70.4

 350153001 NM Eddy                    1.38                               70.2

 170310032 IL Cook                     1.4         77         72         69.8

2621210039 MI                         1.52         75         82         68.4
           Muskegan
 550590019 WI Kenosha                 1.54                               71.7

 551010020 WI Racine                  1.57                               71.5

3600500003 MI Allegan                 1.68         78         73         67.4

 550590025 WI Kenosha                 1.82         72         71         70.7

 550590025 WI Kenosha                 1.83                               70.7

 350151005 NM Eddy                    1.91                               74.1



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  170317002 IL Cook                     1.95                               71.3

  350250008 NM Lea                      2.17                               72.2

  350130022 NM Dona                     3.59                               72.4
            Ana
  350130008 NM Dona                     3.83         79         78         66.3
            Ana
  350130021 NM Dona                     4.74                               72.1
            Ana



     A stay of the Disapproval Rule would perpetuate the status quo in

which Texas continues to do nothing to address its significant

contribution to ozone problems across at least five other states. See 42

U.S.C. § 7410(c)(1). Accordingly, these harms in the form of excess

pollution would continue under a stay. See, e.g., Duke Power v. Carolina

Env’t Study Gr., 438 U.S. 59, 74 (1978) (“emission of non-natural

radiation into appellees’ environment would also seem a direct and

present injury”); Nat’l Ass’n of Farmworkers Orgs. v. Marshall, 628 F.2d

604, 616 (D.C. Cir. 1980) (holding that the public interest in avoiding

public health harms from pollution outweighed economic burden on

petitioner). The stay motion should be denied.




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                             CONCLUSION

        The Court should deny the motions to stay EPA’s Disapproval

Rule.

                                   Respectfully submitted,

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CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT

     The undersigned counsel states that this motion complies with

Fed. R. App. P. 27(d)(2)(A) because it contains 5,190 words, excluding

the caption, signature blocks, and required certifications, as counted by

a word processing system and, therefore, is within the word limit. This

motion also complies with typeface requirements of Fed. R. App. P.

27(d)(1)(E) because it has been prepared in a proportionally spaced

typeface in 14-point Century Schoolbook font.

     Dated: March 27, 2023

                                        /s/ Joshua Smith
                                        Joshua Smith
                                        Counsel for Sierra Club




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      CERTIFICATIONS UNDER ECF FILING STANDARDS

     Pursuant to paragraph A(6) of this Court’s ECF Filing Standards,

I hereby certify that (1) required privacy redactions have been made,

5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the

paper document, 5th Cir. R.25.2.1; and (3) the document has been

scanned for viruses with the most recent version of a commercial virus

scanning program and is free of viruses.

     Dated: March 27, 2023

                                        /s/ Joshua Smith
                                        Joshua Smith
                                        Counsel for Sierra Club




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                      CERTIFICATE OF SERVICE

     On this 27th day of March, 2023, a true and correct copy of the

foregoing Response in Opposition to the Motions to Stay the Final Rule

was filed with the electronic case filing (“ECF”) system of the U.S. Court

of Appeals for the Fifth Circuit, which will provide electronic notice to

counsel of record.


                                          /s/ Joshua Smith
                                          Joshua Smith




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